Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18612 Filed 03/30/21 Page 1 of 14

EXHIBIT 2
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18613 Filed 03/30/21 Page 2 of 14

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United States District Court
Eastern District of Michigan

United States of America JUDGMENT IN A CRIMINAL CASE
V.
BOBBY W. FERGUSON Case Number: 10CR20403-2

USM Number: 44950-0399
|AKA: Ferguson, Bobby Wesley]

Gerald K. Evelyn, Michael A. Rataj,
Susan W. Van Dusen

Defendant's Attorney

THE DEFENDANT:

Was found guilty on count(s) Iss, 2ss, 3ss, 4ss, 5ss, 7ss, 8ss, 9ss and 17ss of the Fourth Superseding Indictment after a
plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
See page 2 for details.

The defendant is sentenced as provided in pages 2 through 9 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

Wi The defendant has been found not guilty on count(s) 10ss and 16ss of the Fourth Superseding Indictment.
@ Count(s) 6ss of the Fourth Superseding Indictment no verdict.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

OCTOBER 11.2013

Date of Imposition of Judgment

   

s/Naitey"Gdmunds
United Si8eDistrict Judge

 

JANUARY 15,2014
Date Signed
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18614 Filed 03/30/21 Page 3 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

Title & Section
18 U.S.C. § 1962(d)

18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 1951 and
195 1(b)(2)

18 U.S.C. §§ 1951 and
195 1(b)(2)

18 U.S.C. §§ 1951 and
195 1(b)(2)
18 U.S.C. §§ 1951 and
195 1(b)(2)
18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 1951 and
1951(b)(2)

18 U.S.C. §§ 666(a) and

666(a)(B)(2)

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ADDITIONAL COUNTS OF CONVICTION

Nature of Offense
Racketeering Conspiracy, a Class C Felony

Interference with Commerce by Extortion- Sewer
Lining Contract, a Class C Felony

Interference with Commerce by Extortion-
Amendment to Sewer Lining Contract, a Class C
Felony

Interference with Commerce by Extortion- Baby
Creek/Patton Park, a Class C Felony

Attempted Extortion- Oakwood Pump Station, a
Class C Felony

Interference with Commerce by Extortion- Outfalls
Contract, a Class C Felony

Interference with Commerce by Extortion- Asbestos
Abatement, a Class C Felony

Interference with Commerce by Extortion- Repair of
Eastside Water Mains, a Class C Felony

Bribery Concerning Programs Receiving Federal
Funds- $75,000.00 Bribe, a Class C Felony

Offense Ended
2009
2006

2005

2008

2007

2005

2007

2008

2008

Count
Iss
2ss

3ss

4ss

Sss

7ss

8ss

Oss

17ss
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18615 Filed 03/30/21 Page 4 of 14
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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
252 MONTHS. Counts Iss, 2ss, 3ss, 4ss, 5ss, 7ss, 8ss, and 9ss: (Fourth Superseding Indictment) 240 months on each
count, to run concurrently.

Count 17ss: (Fourth Superseding Indictment) 12 months to run consective to all other counts.

The defendant is remanded to the custody of the United States Marshal.

RETURN

I have executed this judgment as follows:

Defendant delivered on to a
, with a certified copy of this judgment.

 

 

United States Marshal

 

Deputy United States Marshal
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18616 Filed 03/30/21 Page 5 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: THREE (3) YEARS on each
count, to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.

Mi The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement; and

14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised release is mandatory for possession of a firearm.
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18617 Filed 03/30/21 Page 6 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

SPECIAL CONDITIONS OF SUPERVISION

@ The defendant shall make monthly payments on any remaining balance of the: restitution, special assessment at a rate and
schedule recommended by the Probation Department and approved by the Court.

@ The defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
officer.

@ The defendant shall provide the probation officer access to any requested financial information.

The defendant shall participate in a program approved by the probation department for anger management,
if necessary.

The defendant shall refrain from the excessive use of alcohol.
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18618 Filed 03/30/21 Page 7 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS: $ 900.00 $ 0.00 $ 6,284,000.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Priority or
Ordered Percentage
Detroit Water & Sewerage Department $6 284,000.00 $6,284,000.00
TOTALS: $ 6,284,000.00 $ 6,284,000.00

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

the interest requirement is waived for the restitution

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18619 Filed 03/30/21 Page 8 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

The Court waives the imposition of a fine, the costs of incarceration and the costs of supervision, due to the defendant's lack of
financial resources.
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18620 Filed 03/30/21 Page 9 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
[A] Lump sum payment of $900.00 due immediately.

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance. All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate
10-20403-1

Kwame Kilpatrick $4,534,423.00 $4 534,423.00

The defendant shall forfeit the defendant's interest in the following property to the United States:

See detail list attached.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18621 Filed 03/30/21 Page 10 of 14

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DEFENDANT: BOBBY W. FERGUSON
CASE NUMBER: 10CR20403-2

ADDITIONAL FORFEITED PROPERTY

Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 1963, and 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c),
defendant shall forfeit to the United States the following property as there is a substantial nexus between the property and
defendant's violations: "SEE ATTACHED"
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18622 Filed 03/30/21 Page 11 of 14

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Forfeiture.

FORFEITURE LANGUAGE FOR
INCLUSION IN THE JUDGMENT

U.S. V. BOBBY W. FERGUSON , Case No. 10-cr-20403

Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 1963, and 18 U.S.C. § 981(a)(1)(C)
together with 28 U.S.C. § 2461(c), defendant shall forfeit to the United States the
following property as there is a substantial nexus between the property and
defendant’s violations:

A. E
1)

2)
3)
4)
5)
6)
7)
8)
9)
10)
11)

12)
13)

14)

UIPMENT

Caterpillar Inc. Excavator, Model 313BSR, Serial Number:
9PR00381;

Caterpillar Inc. Articulated Truck, Model D350EII, Serial
Number: 02XW00157;

Caterpillar Inc. Medium TTT, Model DSMLGP, Serial
Number: 3CRO1244;

Caterpillar Inc. Track Excavator, Model 330 CLCQG, Serial Number:
DKY00724;

Caterpillar Inc. Skid Steer Loader, Model 216, Serial Number:
4NZ02280;

Caterpillar Inc. Skid Steer Loader, Model 226, Serial Number:
5FZ01246;

Caterpillar Inc. Skid Steer Loader, Model 216C, Serial Number:
4NZ04400;

Caterpillar Inc. Articulated Truck, Model D350EII, Serial
Number: 02XW00162;

Caterpillar 314 Excavator, Model 314CLCRHAQ, Serial
Number: PCA01039;

Caterpillar Excavator, Model 345 BL, Serial Number:
48801551;

Caterpillar Excavator, Model 330BL, Serial Number:
6DR03990;

Caterpillar Model IT38GII, Serial Number: CSX00680;
Caterpillar Inc. Skid Steer Loader, Model 216C, Serial Number:
4NZ04971;

Caterpillar Inc. Skid Steer Loader, Model 226, Serial Number:
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18623 Filed 03/30/21 Page 12 of 14

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15)

16)

5FZ00627;

Caterpillar Backhoe Loader, Model 420DC4XE, Serial Number:
FDP05060; .

Caterpillar Track Excavator, Model 321C LCR, Serial Number:
MCF00496;

B. CURRENCY AND MONETARY INSTRUMENTS

1)
2)

3)

4)

5)

6)

1)

8)

9)

10)

Ten Thousand Dollars ($10,000.00) in U.S. Currency from Merrill
Lynch Account Number 689-29664 in the name of Bobby Ferguson;
Twenty Thousand Dollars ($20,000.00) in U.S. Currency from Merrill
Lynch Account Number 689-29665 in the name of Bobby Ferguson;
Thirty Five Thousand Eight Hundred Sixty Dollars ($35,860.00) in
U.S. Currency from Merrill Lynch Account Number 689-29666 in the
name of Bobby Ferguson;

Thirty Five Thousand Eight Hundred Sixty Dollars and Twenty Three
Cents ($35,860.23) in U.S. Currency from Merrill Lynch Account
Number 689-29667 in the name of Bobby Ferguson;

Twenty Five Thousand Dollars ($25,000.00) in U.S. Currency from
the liquidation of First Independence Bank Cashier’s Check Number
16533, dated March 30, 2007, in the amount of $25,000.00, payable to
Bobby Ferguson;

Fifty Thousand Dollars ($50,000.00) in U.S. Currency from the
liquidation of First Independence Bank Cashier’s Check Number
15916, dated May 19, 2006, in the amount of $50,000.00, payable to
Bobby Ferguson;

One Hundred Thousand Dollars ($100,000.00) in U.S. Currency from
the liquidation of PNC Bank Cashier’s Check Number 133620, dated
November 16, 2010, in the amount of $100,000.00, payable to Bobby
W. Ferguson;

One Hundred Thousand Dollars ($100,000.00) in U.S. Currency from
the liquidation of PNC Bank Cashier’s Check Number 133621, dated
November 16, 2010, in the amount of $100,000.00, payable to Bobby
W. Ferguson;

Sixty Thousand Dollars ($60,000.00) in U.S. Currency from the
liquidation of PNC Bank Cashier’s Check Number 288201, dated
January 19, 2011, in the amount of $60,000.00, payable to LaCresha
A. Borgus;

Twenty Two Thousand Four Hundred Three Dollars and Forty Five
Cents ($22,403.45) in U.S. Currency from Fifth Third Bank Account
Number 7914058479 in the name of G.B. Utilities;
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18624 Filed 03/30/21 Page 13 of 14

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11)

One Thousand Five Hundred Fifteen Dollars and Eighty Six Cents
($1,515.86) from Charter One Bank Account Number 4512083005 in

the name of Four Children Enterprises, LLC;

C. REAL PROPERTY

1)

2)

Real property located at 18944 Bretton Drive, Detroit, Michigan, and
being more fully described as:
Lot 1791, Rosedale Park No. 2, as recorded in Liber 40 on Page 46 of

Plats, Wayne County Records.

Commonly known as: 18944 Bretton Drive, Detroit, Michigan.

Tax Parcel ID: Ward Number 27, Item Number 061328 and
Ward Number 22, Item Number 011845

Real property located at 1001 W. Jefferson, Suite 5I (also known as
300 Riverfront, Suite 5I), Detroit, Wayne County, Michigan being
more fully described as:

Unit 47, RIVERFRONT TOWERS, a Condominium according to the

Master Deed recorded in Liber 41783, Pages 152 through 262, both
inclusive, Wayne County Records, and described as Wayne County
Condominium Subdivision Plan No. 813, as amended by First
Amendment to Master Deed recorded in Liber 42595, pages 81
through 110, both inclusive, and by Second Amendment to Master
Deed recorded in Liber 43421, pages 1 through 30, both inclusive, and
by Third Amendment to Master Deed recorded in Liber 43914, Pages
221 through 236, both inclusive, and by Fourth Amendment to Master
Deed recorded in Liber 44757, Pages 105 through 131, both inclusive,
together with an undivided interest in the common elements of said
condominium as set forth in said Master Deed, as amended, and as
described in Act 59 of the Public Acts of Michigan of 1978, as
amended.

Commonly known as: 1001 W. Jefferson, Suite 5I, also known as 300
Riverfront, Suite 51, Detroit, Michigan

Tax Parcel ID: Ward 06, Item 000002.047

The property and assets listed above are referred to hereinafter as the “Subject

Property.”
Case 2:10-cr-20403-NGE-MKM ECF No. 674-3, PagelD.18625 Filed 03/30/21 Page 14 of 14

Case 2:10-cr-20403-NGE-MKM ECF No. 519, PagelD.16486 Filed 01/15/14 Page 13 of 13

Money Judgments. Defendant shall also forfeit and pay the total amount of
$6,284,000.00, in favor of the United States of America, as such amount
constitutes the amount of proceeds obtained as a result of defendant's violations of
Counts One (18 U.S.C. § 1962(d)), Two, Three and Four (18 U.S.C. § 1951), and
Seven and Nine (18 U.S.C. § 1951) of the Fourth Superseding Indictment. The
forfeiture money judgments are listed for each Count as follows:

Count 1 $6,284,000.00
Counts 2 & 3 $2,082,000.00
Count 4 $1,349,000.00
Count 7 $1,700,000.00
Count 9 $1,153,000.00

The amounts owed under the money judgments are concurrent to one another such
that the total amount to be paid by defendant to the United States is $6,284,000.00.

After the Preliminary Order of Forfeiture as to defendant becomes final and the
Subject Property set forth above has been finally forfeited to the United States, the
proceeds resulting from the forfeiture of the Subject Property shall be applied to
reduce the amount owed by defendant on his obligation to forfeit and pay
$6,284,000.00 in forfeiture money judgments.

Defendant is jointly and severally liable to pay the money judgments with his co-
defendant.
